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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                                  Plaintiff

 v.                                                       Case No. 3:23-CR-000194-DJH

 BRYAN DOUGLAS CONLEY,

                                  Defendant.

______________________________________________________________________________

                                    ORDER
______________________________________________________________________________

       This matter is before the Court on Defendant Bryan Douglas Conley’s Motion to Dismiss

Count 2 of the Indictment. (R. 19.) Having reviewed the parties’ briefs and the Court being

otherwise sufficiently advised,

       IT IS HEREBY ORDERED as follows:

       1.      Defendant Conley’s Motion to Dismiss (R. 19) is GRANTED; and

       2.      This matter is DISMISSED WITH PREJUDICE.

       This the ____ day of ____________, 20___.
